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IN THE UNITED sTATEs DISTRICT CoUR; `
FoR THE WESTERN DISTRICT oF TENNES S;€a;
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"‘@Op’¢;//‘?
JOHN J. STOCKTON and SANDRA
STOCKTON__
Plaintiffs,
VS. No. 05-1168-T/An

MERCK & CO., INC.,

Defendant.

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ORDER GRANTING MOTION TO STAY

 

Plaintiffs John J. Stockton and Sandra Stockton filed this action on June 20, 2005 against
l\/Ierck and Company, Inc., maker of the prescription drug known as Vioxx. On August 8, 2005,
Merck filed an answer to the complaint and a motion to stay all further proceedings pending a
decision by the J udicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this case should
be transferred to the United States District Court for the Eastem District of Louisiana as a “tag-
along” action in l\/IDL Proceeding No. 1657, ln re Vioxx Product Liabilitv Litigation. Plaintiff`s have
not responded to the motion to stay.

Pursuant to 28 U.S.C. § 1407, the MDL Panel issued the first Transfer Order establishing
MDL-1657' on February 16, 2005. fn that order, the Panel stated:

On the basis of the papers filed and hearing session held, the Panel finds that

the actions in this litigation involve common questions offact, and that centralization

under Section 1407 in the Eastem District of Louisiana Will serve the convenience

of the parties and Witnesses and promote the just and efficient conduct of the

litigation. All actions focus on alleged increased health risks (including heart attach
and/or stroke) When taking Vioxx, an ami-inflammatory drug, and Whether Merck

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knew of these increased risks and failed to disclose them to the medical community

and consumers Centralization under Section 1407 is necessary in order to eliminate

duplicative discovery, avoid inconsistent pretrial rulings, and conserve the resources

of the parties, their counsel and the judiciary.
Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The decision whether to grant a stay of a particular action is within the inherent power of`the
Court and is discretionary. gee Landis v. North Am. Co., 299 U.S. 248, 254-55 (1936) (“The power
to stay proceedings is incidental to the power inherent in every court to control the disposition of the
causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”). A
stay is particularly appropriate in these Vioxx cases, as the MDL Panel has already determined that
the claims involve common questions of fact and that coordination under § 1407 is appropriate
There are several other Vioxx cases already pending in this district that will undoubtedly be
transferred to MDL-l 657, as well as hundreds more in other districts

The Court finds that having the pretrial issues decided in the MDL proceeding will best
promote judicial economy and conserve judicial resources ln addition, the Court finds that any
prejudice to the plaintiffs resulting from a stay would be minimal However, in the absence of a stay,
the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’ s motion to stay pending the MDL Panel’ s transfer decision
is GRANTED.
IT IS SO ORDERED.

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ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01168 was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
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